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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 Re: Criminal Case

                                                         NOTICE OF TELECONFERENCE
 19cr856                                                       INFORMATION




KENNETH M. KARAS, United States District Judge:

       For the week of November 9, 2020, the Court will hold the above-captioned criminal

proceeding by telephone. To access the teleconference, please use the following information:

       Meeting Dial-In Number (USA toll-free): (888) 363-4749 Access Code: 7702195

       Please enter the conference as a guest by pressing the pound sign (#).

       Any requests for adjournments should be filed as soon as possible and clearly explain

why the conference should be adjourned.

SO ORDERED.

 Dated:    November 6, 2020
           White Plains, New York

                                                          KENNETH M. KARAS
                                                         United States District Judge
